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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

ALEXANDER CORDERO,                       )
                                         )
      Plaintiff,                         )
                                         )       CIVIL ACTION
v.                                       )
                                         )       FILE No. _____________________
SWEETWATER CENTER, INC.,                 )
                                         )
      Defendant.                         )

                                   COMPLAINT

      COMES NOW, ALEXANDER CORDERO, by and through the

undersigned     counsel,   and   files   this,   his   Complaint   against   Defendant

SWEETWATER CENTER, INC. pursuant to the Americans with Disabilities Act,

42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s Accessibility Guidelines, 28

C.F.R. Part 36 (“ADAAG”). In support thereof, Plaintiff respectfully shows this

Court as follows:

                           JURISDICTION AND VENUE

      1.      This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.


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      2.      Venue is proper in the federal District Court for the Northern District

of Georgia, Atlanta Division.

                                      PARTIES

      3.      Plaintiff ALEXANDER CORDERO (hereinafter “Plaintiff”) is, and

has been at all times relevant to the instant matter, a natural person residing in

Lawrenceville, Georgia (Gwinnett County).

      4.      Plaintiff is a paraplegic and disabled as defined by the ADA.

      5.      Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking and standing.

      6.      Plaintiff cannot walk and uses a wheelchair for mobility purposes.

      7.      Defendant     SWEETWATER           CENTER,        INC.     (hereinafter

“Defendant”) is a Georgia corporation, and transacts business in the state of

Georgia and within this judicial district.

      8.      Defendant may be properly served with process via its registered

agent for service, to wit: Scott A. Moon, 305-A Equipment Court, Lawrenceville,

Georgia, 30046.

                            FACTUAL ALLEGATIONS

      9.      On or about September 8, 2021, Plaintiff was a customer at “Texaco,”


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a business located at 2920 Old Norcross Road, Norcross, Georgia 30096.

      10.      Defendant is the owner (or co-owner) of the real property and

improvements that are the subject of this action. (The contiguous, multi-tenant

structure and improvements situated upon said real property shall be referenced

herein as the “Facility,” and said real property shall be referenced herein as the

“Property”).

      11.      Plaintiff lives approximately ten (10) miles from the Facility and

Property.

      12.      Plaintiff regularly travels in the near vicinity of the Facility and

Property.

      13.      Plaintiff’s access to the businesses located at 2920 Old Norcross

Road, Norcross, Georgia 30096 (Gwinnett County Property Appraiser’s parcel

number R7077 021), and/or full and equal enjoyment of the goods, services, foods,

drinks, facilities, privileges, advantages and/or accommodations offered therein

were denied and/or limited because of his disabilities, and he will be denied and/or

limited in the future unless and until Defendant is compelled to remove the

physical barriers to access and correct the ADA violations that exist at the Facility

and Property, including those set forth in this Complaint.

      14.      Plaintiff has visited the Facility and Property at least once before and


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intends on revisiting the Facility and Property once the Facility and Property are

made accessible.

      15.    Plaintiff intends to revisit the Facility and Property to purchase goods

and/or services.

      16.    Plaintiff travelled to the Facility and Property as a customer and as an

advocate for the disabled, encountered the barriers to his access of the Facility and

Property that are detailed in this Complaint, engaged those barriers, suffered legal

harm and legal injury, and will continue to suffer such harm and injury as a result

of the illegal barriers to access present at the Facility and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      17.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      18.     The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      19.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      20.    The Facility is a public accommodation and service establishment.

      21.    The Property is a public accommodation and service establishment.

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      22.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      23.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      24.    Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      25.    The Facility must be, but is not, in compliance with the ADA and

ADAAG.

      26.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

      27.    Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in his capacity as a customer of the Facility and Property,

and as an advocate for the disabled, but could not fully do so because of his

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Facility and Property that preclude and/or limit his


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access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      28.    Plaintiff intends to visit the Facility and Property again in the future as

a customer and as an advocate for the disabled in order to utilize all of the goods,

services, facilities, privileges, advantages and/or accommodations commonly

offered at the Facility and Property, but will be unable to fully do so because of his

disability and the physical barriers to access, dangerous conditions and ADA

violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      29.    Defendant has discriminated against Plaintiff (and others with

disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facility

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      30.    Defendant will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendant is compelled to remove all


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physical barriers that exist at the Facility and Property, including those specifically

set forth herein, and make the Facility and Property accessible to and usable by

Plaintiff and other persons with disabilities.

      31.    A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facility and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facility and Property include, but are not limited to:

      (a)    EXTERIOR ELEMENTS:

      (i)    At least one accessible parking space on the Property is missing

             a proper identification sign, in violation of section 502.6 of the

             2010 ADAAG standards.

      (ii)   The access aisle adjacent to the accessible parking space on the

             Property is not level due to the presence of a ramp within the

             boundaries of said access aisle, in violation of section 502.4 of

             the 2010 ADAAG standards. This access aisle is also not level

             due to the presence of a 1” (one inch) concrete seam running

             through its boundaries, also in violation of section 502.4 of the

             2010 ADAAG standards.


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(iii)   The ramp located within the boundaries of the above-described

        access aisle lacks finished edges (or edge protection), in

        violation of section 405.9 of the 2010 ADAAG standards.

(iv)    The operable parts on the fuel dispensers on the Property are at

        a height exceeding 54” (fifty-four inches) from the surface of

        the vehicular way, in violation of section 308.3.1 of the 2010

        ADAAG standards.

(v)     There are two additional ramps on the Property that each lack

        finished edges (or edge protection), in violation of section 405.9

        of the 2010 ADAAG standards.

(vi)    The walking surfaces of the accessible route on the Property

        have a slope in excess of 1:20 (one to twenty) and a cross-slope

        in excess of 1:48 (one to forty-eight), in violation of sections

        403.2 and 403.3 of the 2010 ADAAG standards.

(vii) The accessible route on the Property also has a total vertical rise

        greater than 6” (six inches), but does not have handrails

        complying with section 505 of the 2010 ADAAG standards, in

        violation of section 405.8 of the 2010 ADAAG standards.




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(b)     INTERIOR ELEMENTS:

(i)     The interior of the “Texaco” portion of the Facility has sales

        and services counters lacking any portion of which that has a

        maximum height of 36” (thirty-six inches) from the finished

        floor, in violation of section 904.4 of the 2010 ADAAG

        standards.

(ii)    The interior of the “Texaco” portion of the Facility lacks

        restrooms signage that complies with sections 216.8 and 703 of

        the 2010 ADAAG standards.

(iii)   The door to the restroom in the “Texaco” portion of the Facility

        does not provide for permissible minimum maneuvering

        clearance due to the presence of stored inventory, in violation

        of section 404.2.4 of the 2010 ADAAG standards.

(iv)    The hardware on the restroom doors in the “Texaco” portion of

        the Facility have operable parts that require tight grasping,

        pinching or twisting of the wrist, in violation of section 309.4 of

        the 2010 ADAAG standards.

(v)     The grab bars adjacent to the commode in the restroom in the

        “Texaco” portion of the Facility do not comply with section


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             604.5 of the 2010 ADAAG standards. Both grab bars are too

             short.

      (vi)   The hand operated flush control on the commode in the

             restroom in the “Texaco” portion of the Facility is not located

             on the open side of the restroom in violation of section 604.6 of

             the 2010 ADAAG standards.

      (vii) The restroom in the “Texaco” portion of the Facility has a

             cabinet-style sink that provides for inadequate knee and toe

             clearance thereunder, in violation of sections 305, 306 and

             606.2 of the 2010 ADAAG standards.

      (viii) The toilet paper dispenser in the restroom in the “Texaco”

             portion of the Facility is positioned outside the permissible

             reach ranges set forth in section 604.7 of the 2010 ADAAG

             standards.

      32.    Without limitation, the above-described violations of the ADAAG

made it more difficult for Plaintiff to exit and re-enter his vehicle on the Property,

more difficult and dangerous for Plaintiff to use the ramps servicing the Property,

and more difficult for Plaintiff to access all features offered to the public within the

“Texaco” portion of the Facility.


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      33.    The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facility and Property.

      34.    Plaintiff requires an inspection of Facility and Property in order to

determine all of the discriminatory conditions present at the Facility and Property

in violation of the ADA.

      35.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      36.    All of the violations alleged herein are readily achievable to modify

to bring the Facility and Property into compliance with the ADA.

      37.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      38.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because Defendant has the financial resources to make the necessary

modifications.


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      39.    In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      40.    Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facility and Property, including

those alleged herein.

      41.    Plaintiff’s requested relief serves the public interest.

      42.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendant.

      43.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      44.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendant to modify the Facility and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)    That the Court find Defendant in violation of the ADA and ADAAG;

      (b)    That the Court issue a permanent injunction enjoining Defendant from


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            continuing its discriminatory practices;

      (c)   That the Court issue an Order requiring Defendant to (i) remove the

            physical barriers to access and (ii) alter the subject Facility and

            Property to make them readily accessible to, and useable by,

            individuals with disabilities to the extent required by the ADA;

      (d)   That the Court award Plaintiff’s counsel reasonable attorneys' fees,

            litigation expenses and costs; and

      (e)   That the Court grant such further relief as deemed just and equitable

            in light of the circumstances.

                                      Dated: September 20, 2021.

                                      Respectfully submitted,

                                      /s/Craig J. Ehrlich
                                      Craig J. Ehrlich
                                      Georgia Bar No. 242240
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       CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule


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5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                    /s/Craig J. Ehrlich
                                    Craig J. Ehrlich




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